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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA


               -v-                                             20 CR 00338 (KMK)

CHRISTOPHER ACCIME,


Karas, J.

                  ORDER ACCEPTING THE PLEA ALLOCUTION BEFORE
                            A U.S. MAGISTRATE JUDGE

        On July 21, 2020 United States Magistrate Judge, Paul E. Davison presided over the plea
allocution in the above captioned matter and reported and recommended that the named defendant's
plea of guilty be accepted. The Court having reviewed the transcript of the allocution, the charging
papers, and all other pertinent parts of the record, finds that the plea accords with the requirements
of Rule 11 of the Federal Rules of Criminal Procedure. Accordingly, the Court adjudges defendant
guilty of the offense(s) to which the guilty plea was offered. The Clerk is directed to enter the plea.


                                                               SO ORDERED:

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                                                               Kenneth M. Karas, U.S.D.J.
Dated: October 19, 2020
       White Plains, New York
